Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 1 of 126. PageID #: 29




       Exhibit A
8/28/2018            Case: 1:18-op-46006-DAP DocCase
                                                 #: 1-2
                                                     DetailsFiled:   08/29/18
                                                             - CourtView            2 of 126. PageID #: 30
                                                                         Justice Solutions
Skip to main content
 2018CV00604 COUNTY OF PORTAGE OHIO et al VS. CARDINAL HEALTH INC
 et al OPEN

   Case Type:
   CIVIL (COMMON PLEAS)
   Case Status:
   OPEN
   File Date:
   07/24/2018
   DCM Track:

   Action:
   OTHER CIVIL
   Status Date:
   07/24/2018
   Case Judge:
   PITTMAN, LAURIE J
   Next Event:




   All Information     Party   Docket   Financial   Receipt   Disposition


      Docket Information
     Date            Docket Text                                                              Amount Amount File Image
                                                                                               Owed    Due Ref Avail.
                                                                                                            Nbr.
     07/24/2018 COMPLAINT FILED. ACTION: OTHER CIVIL Receipt: 399398 Date: 07/24/2018         $241.50    $0.00            Image
                STEPHEN COLECCHI (Attorney) on behalf of COUNTY OF PORTAGE OHIO, CITY
                OF RAVENNA OHIO, CITY OF KENT OHIO, CITY OF AURORA OHIO, STATE OF
                OHIO EX REL, FRANK J CIMINO, HOPE L JONES, DEAN E DEPIERO (PLAINTIFF)
     07/24/2018 DEPOSIT RECEIVED Receipt: 399398 Date: 07/24/2018                              $72.50    $0.00
     07/26/2018 SUMMONS AND COPY OF COMPLAINT ISSUED TO DEFTS                                    $8.00   $0.00            Image

                     CIVIL SUMMONS
                     Sent on: 07/26/2018 11:57:43.13 Receipt: 399510 Date: 07/26/2018




https://services.portageco.com/eservices/search.page.3?x=Fblpppr4Ux7zXNvFqgPcMjqinSWA3Ghlgw1kXJ0UgUbl*lYPpYXDuEEZGWiUnnx-R7c4CiY… 1/3
8/28/2018       Case: 1:18-op-46006-DAP DocCase
                                            #: 1-2
                                                DetailsFiled:   08/29/18
                                                        - CourtView            3 of 126. PageID #: 31
                                                                    Justice Solutions

     Date        Docket Text                                                                  Amount Amount File Image
                                                                                               Owed    Due Ref Avail.
                                                                                                            Nbr.
     07/26/2018 Issue Date: 07/26/2018                                                         $48.00    $0.00
                Service: SUMMONS AND COMPLAINT ISSUED TO DEFENDANTS
                Method: (GEN DIV) E-CERTIFIED
                Cost Per: $12.00


                  CARDINAL HEALTH INC
                  % CT CORP SYSTEM
                  4400 EASTON COMMONS
                  STE 125
                  COLUMBUS, OH 43219
                  Tracking No: 9171900005566900512466


                  MCKESSON CORP
                  % CORP SERVICE CO
                  50 W BROAD ST
                  STE 1330
                  COLUMBUS, OH 43215
                  Tracking No: 9171900005566900512473


                  AMERISOURCEBERGEN DRUG CORP
                  % CT CORP SYSTEM
                  4400 EASTON COMMONS
                  STE 125
                  COLUMBUS, OH 43219
                  Tracking No: 9171900005566900512480


                  WALGREENS CORP
                  % CORP SERVICE CO
                  50 W BROAD ST
                  STE 1330
                  COLUMBUS, OH 43215
                  Tracking No: 9171900005566900512497

                  Receipt: 399510 Date: 07/26/2018
     07/27/2018 CERTIFIED MAIL RECEIVED BY POST OFFICE
                USPS PRE-SHIPMENT INFO SENT USPS AWAITS ITEM - Service Date:
                07/27/2018 13:37
                Tracking Number: 91 7190 0005 5669 0051 2473
     07/27/2018 CERTIFIED MAIL RECEIVED BY POST OFFICE
                USPS PRE-SHIPMENT INFO SENT USPS AWAITS ITEM - Service Date:
                07/27/2018 13:37
                Tracking Number: 91 7190 0005 5669 0051 2497
     07/27/2018 CERTIFIED MAIL RECEIVED BY POST OFFICE
                USPS PRE-SHIPMENT INFO SENT USPS AWAITS ITEM - Service Date:
                07/27/2018 13:37
                Tracking Number: 91 7190 0005 5669 0051 2466
     07/27/2018 CERTIFIED MAIL RECEIVED BY POST OFFICE
                USPS PRE-SHIPMENT INFO SENT USPS AWAITS ITEM - Service Date:
                07/27/2018 13:37
                Tracking Number: 91 7190 0005 5669 0051 2480
     08/01/2018 SIGNATURE FILED                                                                                           Image
                DFNDT Signature File Attached
                Tracking Number: 91 7190 0005 5669 0051 2480
     08/02/2018 SIGNATURE FILED                                                                                           Image
                DFNDT Signature File Attached
                Tracking Number: 91 7190 0005 5669 0051 2473
     08/02/2018 SIGNATURE FILED                                                                                           Image
                DFNDT Signature File Attached
                Tracking Number: 91 7190 0005 5669 0051 2497
     08/02/2018 SIGNATURE FILED                                                                                           Image
                DFNDT Signature File Attached
                Tracking Number: 91 7190 0005 5669 0051 2466
     08/08/2018 NOTICE OF APPEARANCE FILED.                                                                               Image
                VINCENT I HOLZHALL (Attorney) on behalf of MCKESSON CORP (DEFENDANT)



https://services.portageco.com/eservices/search.page.3?x=Fblpppr4Ux7zXNvFqgPcMjqinSWA3Ghlgw1kXJ0UgUbl*lYPpYXDuEEZGWiUnnx-R7c4CiY… 2/3
8/28/2018       Case: 1:18-op-46006-DAP DocCase
                                            #: 1-2
                                                DetailsFiled:   08/29/18
                                                        - CourtView            4 of 126. PageID #: 32
                                                                    Justice Solutions

     Date        Docket Text                                                                  Amount Amount File Image
                                                                                               Owed    Due Ref Avail.
                                                                                                            Nbr.
     08/21/2018 CONSENT STIPULATION FOR EXTENSION OF TIME FOR DISTRIBUTOR DEFTS                                           Image
                TO RESPOND TO COMPLAINT FILED.
                Attorney: HOLZHALL, VINCENT I (74901)
                VINCENT I HOLZHALL (Attorney) on behalf of MCKESSON CORP (DEFENDANT)
     08/21/2018 APPEARANCE OF COUNSEL FILED. (SEE IMAGE)                                                                  Image
                BRENT MICHAEL BUCKLEY (Attorney) on behalf of WALGREENS CORP
                (DEFENDANT)
     08/21/2018 STIPULATION FOR INITIAL EXTENSION OF TIME TO RESPOND TO COMPLAINT                                         Image
                FILED.
                BRENT MICHAEL BUCKLEY (Attorney) on behalf of WALGREENS CORP
                (DEFENDANT)




https://services.portageco.com/eservices/search.page.3?x=Fblpppr4Ux7zXNvFqgPcMjqinSWA3Ghlgw1kXJ0UgUbl*lYPpYXDuEEZGWiUnnx-R7c4CiY… 3/3
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 5 of 126. PageID #: 33
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 6 of 126. PageID #: 34
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 7 of 126. PageID #: 35
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 8 of 126. PageID #: 36
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 9 of 126. PageID #: 37
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 10 of 126. PageID #: 38
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 11 of 126. PageID #: 39
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 12 of 126. PageID #: 40
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 13 of 126. PageID #: 41
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 14 of 126. PageID #: 42
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 15 of 126. PageID #: 43
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 16 of 126. PageID #: 44
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 17 of 126. PageID #: 45
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 18 of 126. PageID #: 46
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 19 of 126. PageID #: 47
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 20 of 126. PageID #: 48
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 21 of 126. PageID #: 49
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 22 of 126. PageID #: 50
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 23 of 126. PageID #: 51
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 24 of 126. PageID #: 52
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 25 of 126. PageID #: 53
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 26 of 126. PageID #: 54
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 27 of 126. PageID #: 55
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 28 of 126. PageID #: 56
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 29 of 126. PageID #: 57
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 30 of 126. PageID #: 58
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 31 of 126. PageID #: 59
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 32 of 126. PageID #: 60
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 33 of 126. PageID #: 61
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 34 of 126. PageID #: 62
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 35 of 126. PageID #: 63
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 36 of 126. PageID #: 64
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 37 of 126. PageID #: 65
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 38 of 126. PageID #: 66
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 39 of 126. PageID #: 67
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 40 of 126. PageID #: 68
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 41 of 126. PageID #: 69
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 42 of 126. PageID #: 70
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 43 of 126. PageID #: 71
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 44 of 126. PageID #: 72
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 45 of 126. PageID #: 73
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 46 of 126. PageID #: 74
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 47 of 126. PageID #: 75
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 48 of 126. PageID #: 76
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 49 of 126. PageID #: 77
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 50 of 126. PageID #: 78
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 51 of 126. PageID #: 79
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 52 of 126. PageID #: 80
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 53 of 126. PageID #: 81
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 54 of 126. PageID #: 82
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 55 of 126. PageID #: 83
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 56 of 126. PageID #: 84
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 57 of 126. PageID #: 85
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 58 of 126. PageID #: 86
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 59 of 126. PageID #: 87
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 60 of 126. PageID #: 88
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 61 of 126. PageID #: 89
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 62 of 126. PageID #: 90
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 63 of 126. PageID #: 91
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 64 of 126. PageID #: 92
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 65 of 126. PageID #: 93
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 66 of 126. PageID #: 94
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 67 of 126. PageID #: 95
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 68 of 126. PageID #: 96
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 69 of 126. PageID #: 97
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 70 of 126. PageID #: 98
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 71 of 126. PageID #: 99
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 72 of 126. PageID #: 100
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 73 of 126. PageID #: 101
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 74 of 126. PageID #: 102
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 75 of 126. PageID #: 103
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 76 of 126. PageID #: 104
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 77 of 126. PageID #: 105
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 78 of 126. PageID #: 106
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 79 of 126. PageID #: 107
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 80 of 126. PageID #: 108
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 81 of 126. PageID #: 109
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 82 of 126. PageID #: 110
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 83 of 126. PageID #: 111
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 84 of 126. PageID #: 112
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 85 of 126. PageID #: 113
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 86 of 126. PageID #: 114
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 87 of 126. PageID #: 115
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 88 of 126. PageID #: 116
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 89 of 126. PageID #: 117
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 90 of 126. PageID #: 118
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 91 of 126. PageID #: 119
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 92 of 126. PageID #: 120
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 93 of 126. PageID #: 121
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 94 of 126. PageID #: 122
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 95 of 126. PageID #: 123
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 96 of 126. PageID #: 124
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 97 of 126. PageID #: 125
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 98 of 126. PageID #: 126
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 99 of 126. PageID #: 127
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 100 of 126. PageID #: 128
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 101 of 126. PageID #: 129
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 102 of 126. PageID #: 130
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 103 of 126. PageID #: 131
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 104 of 126. PageID #: 132
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 105 of 126. PageID #: 133
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 106 of 126. PageID #: 134
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 107 of 126. PageID #: 135
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 108 of 126. PageID #: 136
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 109 of 126. PageID #: 137
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 110 of 126. PageID #: 138
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 111 of 126. PageID #: 139
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 112 of 126. PageID #: 140
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 113 of 126. PageID #: 141
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 114 of 126. PageID #: 142
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 115 of 126. PageID #: 143
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 116 of 126. PageID #: 144
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 117 of 126. PageID #: 145
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 118 of 126. PageID #: 146
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 119 of 126. PageID #: 147
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 120 of 126. PageID #: 148
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 121 of 126. PageID #: 149
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 122 of 126. PageID #: 150
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 123 of 126. PageID #: 151
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 124 of 126. PageID #: 152
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 125 of 126. PageID #: 153
Case: 1:18-op-46006-DAP Doc #: 1-2 Filed: 08/29/18 126 of 126. PageID #: 154
